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4
     Attorney for Defendant
5    DOLF FRED PODVA
6
                         IN THE UNITED STATES DISTRICT COURT
7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,       ) NO. CR.S. 11-275-JAM
                                     )
10                 Plaintiff,        )
                                     ) STIPULATION AND ORDER TO MODIFY
11       v.                          ) PRETRIAL RELEASE CONDITIONS
                                     )
12   YAN EBYAM, et al.,              )
                                     )
13                 Defendant.        )
                                     )
14   _______________________________ )
15
16        IT IS HEREBY STIPULATED by and between the parties hereto through
17   their respective counsel, Samuel Wong, Esq., Assistant United States
18   Attorney, attorney for plaintiff, Carl E. Larson, Esq., attorney for
19   defendant Dolf Fred Podva, Jay Toney, Esp., attorney for defendant
20   Aimee Kristine Sisco, that the pretrial release condition that Mr.
21   Podva and Ms. Sisco not associate with each other be terminated.
22        Mr. Dolf Podva is married to Ms. Sisco’s sister.          Jennifer Podva
23   and her sister, Aimee Kristine Sisco, have a close relationship for
24   many years.   Ms. Sisco takes a special interest in the four Podva
25   children who range in age from two months to 12 years.          Auntie Aimee
26   has had a close relationship with all the Podva children throughout the
27   children’s lives.
28        None of the parties or their counsel see any detriment to allowing
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1    Ms. Sisco to continue the familial relationship.         Becky Fildelman the
2    Pre Trial Services Officer, is in favor of deleting the condition of
3    non association.   Dr. Benjamin Spock, if he were available, would favor
4    this change in release conditions.
5         The Special Conditions of Release, which are attached, should be
6    amended:
7         10.   You shall not associate or have any contact with the
8    co-defendants except for Aimee Kristine Sisco, unless in the presence
9    of counsel or otherwise approved in advance by the pretrial services
10   officer.
11   Dated: September 12, 2011              Respectfully submitted,
12                                          /s/ Carl E. Larson
                                            CARL E. LARSON
13                                          Attorney for Defendant
                                            DOLF FRED PODVA
14
     Dated: September 12, 2011              /s/ Carl E. Larson for
15                                          J. TONY attorney for
                                            AIMEE KRISTINE SISCO
16
     Dated: September 12, 2011
17                                          BENJAMIN B. WAGNER
                                            United States Attorney
18
                                            /s/ Carl E. Larson for
19
                                            CARL E. LARSON for
20                                          For SAMUEL WONG
                                            Assistant United States Attorney
21
22
                                       O R D E R
23
          IT IS SO ORDERED:
24
     Dated: September 14, 2011
25
                                          /s/ Gregory G. Hollows
26                               UNITED STATES MAGISTRATE JUDGE
27
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